 REV 09/18                          UNITED STATES DISTRICT COURT
                                    MIDDLE DISTRICT OF TENNESSEE
                                                          ) Case No.: 3:22-00024
                                                          )
      UNITED STATES OF AMERICA                              Judge: William L. Campbell, Jr.
                                                          )
      V.
                                                          ) Hearing Date: February 8, 2022
                                                          ) Location: ✔ Nashville       Columbia                                       Cookeville

   MELISSA ANN GOODWIN                                    )
                                                          ) Court Reporter: Patty Jennings
                                                          )
  (list each defendant appearing at hearing)                Court Interpreter:
                                                          )
                                                           CRIMINAL MINUTES
  Government Attorney(s): Kathryn Booth

  Defense Attorney(s): Worrick Robinson, Lynne Ingram

  TRIAL PROCEEDINGS                                                                NON-TRIAL PROCEEDINGS
  1. Jury Trial*                                                                   7. Initial Appearance/Arraignment
  2. Non-Jury Trial*                                                               8. Plea Hearing                                                  ✔
  3. Sentencing Hearing Contested*                                                 9. Sentencing Hearing
  4. Supervised Release Hearing-Contested*                                         10. Status conference
  5. Probation Revocation Hearing-Contested*                                       11. Pretrial Conference
  6. Other Evidentiary Hearing*                                                    12. Supervised Release Revocation Hearing
     (Describe #6 in comments section below)                                       13. Probation Revocation Hearing
*For items 1-6, a Witness/Exhibit List is required
 and must be separately filed.                                                     14. Motion Hearing
                                                                                   15. Other Proceeding
JURORS (complete on day 1 only):                                                            (Describe #15 in comments section below)

   1.                                                                                7.
   2.                                                                                8.
   3.                                                                                9.
   4.                                                                                10.
   5.                                                                                11.
   6.                                                                                12.
Alt 1.                                                                             Alt 2.
  COMMENTS:




    Plea accepted. Sentencing set for May 20, 2022, at 1:30 p.m. Order to enter.




                                                                             Clerk of Court
   Total Time in Court:         35 minutes
                                                                              by: Angie Brewer


     Reset Form        Case 3:22-cr-00024 Document 10 Filed 02/08/22 Page 1 of 1 PageID #: 28
